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        EXHIBIT B
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                                                                           Page 1
 1                          PAUL KEGLEVIC
 2   UNITED STATES BANKRUPTCY COURT
 3   FOR THE DISTRICT OF DELAWARE
     -----------------------------------------x
 4   In Re:
     Energy Future Holdings Corporation, et.,
 5

                             Debtors.
 6

     Chapter 11
 7   Case No. 14-10979
     Jointly Administered
 8

 9   -----------------------------------------x
10            DEPOSITION OF PAUL M. KEGLEVIC
11                    New York, New York
12                     October 3, 2014
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23   Reported by:
24   KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25   JOB NO. 85349

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 1               PAUL KEGLEVIC                           1               PAUL KEGLEVIC
 2      A. Yes.                                          2   Hiltz is probably in a better position to answer
 3      Q. Now, the first item listed that the           3   that.
 4   Debtors can change in their sole discretion is      4      Q. To your knowledge, are the Debtors
 5   the bid requirements, correct?                      5   seeking authority to be able to change the bid
 6      A. Correct.                                      6   procedures at a later point in time in order to
 7      Q. Now, if approved, would the Debtors be        7   establish what bids will get past round 1?
 8   able to tighten or loosen the bid requirements      8      A. Same answer. I think you're going to
 9   to get past the Phase 1 cut-down?                   9   have to talk to Mr. Hiltz as to what he had in
10      A. Could you restate your question?             10   mind with those specific words.
11      Q. Earlier, we had discussed the fact           11      Q. You reviewed this before it was filed,
12   that, after Phase 1, bids would be cut down from   12   correct?
13   the initial stalking horse submissions in order    13      A. I did.
14   to proceed to round 2. Do you recall that?         14      Q. The second item that is listed that
15      A. Yes.                                         15   the Debtors can change is the open bid
16      Q. So my question is, based on this             16   requirements. Do you see that?
17   provision in paragraph 7 of the order, would the   17      A. Uh-huh.
18   Debtors be able to tighten or loosen the bid       18      Q. If approved, would the Debtors be able
19   requirements to get past Phase 1 in their sole     19   to tighten or loosen the requirements for
20   discretion?                                        20   participation in the 30-day open bidding
21          MR. McKANE: Object to the phrase "in        21   process?
22      their sole discretion." It's inconsistent       22      A. Yes, I believe that's true.
23      with the order.                                 23      Q. And that would be in their sole
24      A. I'm not sure whether that is what is         24   discretion?
25   intended by these words. I think, you know, Mr.    25          MR. McKANE: Objection to the form of
                                             Page 24                                                 Page 25
 1              PAUL KEGLEVIC                            1              PAUL KEGLEVIC
 2      the question.                                    2   the bids are otherwise qualified?
 3      A. You know, as indicated, following             3      A. Yes, I believe it does.
 4   consultation and, if the business judgment          4      Q. And this would be in the Debtors' sole
 5   indicated to achieve our objectives that was        5   discretion?
 6   necessary, yes.                                     6          MR. McKANE: Object to the form of the
 7      Q. Now, the third item is adjourning the         7      question.
 8   auction at the auction and/or adjourning the        8      A. As previously indicated, after
 9   auction approval hearing in open court, without     9   consultation and if it's our best business
10   further noticing, canceling the auction, do you    10   judgment to achieve the objectives of the
11   see that?                                          11   process, yes.
12      A. Yes.                                         12      Q. Now, Mr. Keglevic, could you turn to
13      Q. Does this mean that we could go              13   the bidding procedures which are attached to the
14   through this entire process and there would be     14   order as Exhibit 1 immediately following the end
15   no auction?                                        15   of the order. And you reviewed these procedures
16      A. Well, yes, I think we've indicated           16   before they were filed?
17   that, you know, we might not get any additional    17      A. Correct.
18   bids. That would be one reason there would be      18      Q. Is there anything in these procedures
19   no auction.                                        19   that you can identify that the Debtors would not
20      Q. Now, the fourth item listed is               20   be able to change following approval of the
21   rejecting any or all qualified bids, do you see    21   bidding procedures?
22   that?                                              22      A. I would think Mr. Hiltz is in a better
23      A. Yes.                                         23   position to answer that question. I have not
24      Q. If this order is approved, does this         24   thought that through.
25   mean that the Debtors can reject bids even if      25      Q. But sitting here today, you cannot

                                                                                 7 (Pages 22 to 25)
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 1                PAUL KEGLEVIC                          1               PAUL KEGLEVIC
 2   identify anything in those procedures that the      2          MR. McKANE: Objection. Asked and
 3   Debtors would be unable to change following the     3      answered.
 4   entry of the order?                                 4      A. I think Mr. Hiltz is better able to
 5      A. I would think the order indicates             5   answer that, but as I said, it would only be
 6   there would be limited situations where we would    6   based on an event and, in our business judgment,
 7   have discretion for good, specific reasons, so I    7   to better achieve the objectives of the process.
 8   would not expect that we're looking to change       8      Q. But what I'm asking is regarding the
 9   procedures unless there was something that came     9   specific provisions in the document. Can you
10   up that allowed us to -- that, in our business     10   point to any specific provision that the Debtors
11   judgment, allowed us to change the procedures in   11   could not change?
12   the pursuit of getting the highest and best        12          MR. McKANE: Objection. Asked and
13   value for the auction.                             13      answered.
14      Q. You testified that you don't expect          14      Q. Sitting here today?
15   that -- strike that.                               15      A. As we sit here today, I can't -- I
16          MR. McKANE: You want to read it back?       16   wouldn't -- I can't point to any that I believe
17      Q. You testified that you are not               17   we would change.
18   expecting that you're looking to change the        18      Q. But can you point to any that you
19   procedures at this point; is that correct?         19   would be unable to change?
20      A. Right. As we sit here today, there           20      A. I think that will be subject to the
21   hasn't been an event that would cause us to        21   interpretation of the words in the order. As I
22   change these procedures.                           22   said, my understanding is to give us flexibility
23      Q. But is there anything in those               23   in the event something occurred that caused us
24   procedures that the Debtors would be unable to     24   that a change would be appropriate to maximize
25   change, in your view?                              25   the outcome of the auction.
                                             Page 28                                                 Page 29
 1                PAUL KEGLEVIC                          1              PAUL KEGLEVIC
 2      Q. Now, in your view, would creditors be         2   paragraph 7 of the proposed order, and if you
 3   able to come back to the Bankruptcy Court after     3   can let me know when you're there?
 4   the procedures are approved to challenge any        4      A. I'm there.
 5   change that the Debtors would consider              5      Q. Okay. Mr. Keglevic, paragraph 7 of
 6   appropriate to maximize the outcome of the          6   the order provides that modifications of the
 7   auction?                                            7   bidding procedures may be made to "best promote
 8          MR. McKANE: Objection. Calls for a           8   the goals of the bidding process."
 9      legal opinion.                                   9          Do you see that?
10      A. I -- I'm not sure what recourse              10      A. Yes.
11   Debtors would have during the process --           11      Q. Mr. Keglevic, what are the goals that
12   creditors. Excuse me.                              12   are referred to here?
13      Q. In your view, are any changes the            13      A. I think they have been referred to
14   Debtors make to maximize the outcome of the        14   previously in the exhibit, but I think there are
15   auction finally authorized by the court order?     15   primarily two goals. One is to maximize the
16          MR. McKANE: Same objection.                 16   value of the auction and the other one is to
17      A. I think that's a legal interpretation.       17   effectively reduce market risk and to, you know,
18   I will let the Court decide that.                  18   obtain a one-way option through a stalking horse
19      Q. Do you know whether the Debtors are          19   bidder that provides a floor to the amount we'll
20   seeking authority to finally make changes to the   20   receive under the bidding procedures. Those are
21   proposed order?                                    21   the two primary objectives that I recall.
22      A. I think we are looking for authority         22      Q. One primary objective that you just
23   to make changes to maximize objectives within      23   mentioned was to maximize the value of the
24   the limited situations that I describe.            24   auction, correct?
25      Q. Mr. Keglevic, if we can turn back to         25      A. Correct.

                                                                                8 (Pages 26 to 29)
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 1              PAUL KEGLEVIC                            1               PAUL KEGLEVIC
 2      Q. Does this goal include maximizing the         2   Debtors are authorized," do you see that?
 3   value at EFIH?                                      3      A. Yes.
 4          MR. McKANE: Object to the form of the        4      Q. Which Debtors does this refer to as
 5      question.                                        5   authorized to modify the bidding procedures?
 6      A. I think specifically we're looking at         6          MR. McKANE: Objection. Calls for a
 7   to maximize the value of the entire auction, and    7      legal opinion.
 8   by doing that, I would assume it maximizes the      8      A. Yes, I would leave that to counsel or
 9   value at EFIH.                                      9   to the Court. I'm not sure. Mr. Hiltz might
10      Q. Do any of these goals include                10   have a more specific answer.
11   establishing the standalone value of EFIH?         11      Q. Mr. Keglevic, sitting here today, do
12      A. No.                                          12   you know who the Debtors are seeking authority,
13      Q. And why not?                                 13   which Debtors the Debtors -- strike that. Let
14      A. It's not a goal of the auction               14   me start that question over.
15   process, but I would think, and we are in          15          Sitting here today, do you know which
16   discussions with our financial advisor now,        16   Debtors are seeking authority to make these
17   before we pick a stalking horse, we would have     17   changes that are identified in paragraph 7 of
18   additional information related to the value of     18   the order?
19   the E side businesses that would go to our board   19      A. I would assume it's the consolidated
20   before they determine which stalking horse to      20   group of Debtors.
21   pick. We have not determined yet what form that    21      Q. Do all three, EFH, EFIH and TCEH, have
22   will be as we sit here today.                      22   to agree on each change?
23      Q. Mr. Keglevic, paragraph 7 concerning         23      A. I'm not --
24   the various changes the Debtors may make to the    24          MR. McKANE: Objection.
25   bidding procedures begins with the phrase "the     25      A. -- the expert on the process. Mr.
                                              Page 32                                               Page 33
 1               PAUL KEGLEVIC                           1               PAUL KEGLEVIC
 2   Hiltz is our expert. I've not thought of that       2   creditor discussions with bidders concerning a
 3   question.                                           3   potential transaction?
 4      Q. You don't know if it's a majority             4      A. I would refer the answer to that to
 5   vote?                                               5   Mr. Hiltz.
 6      A. I don't know how the process will take        6      Q. So you don't know?
 7   place.                                              7      A. I don't recall whether that is
 8      Q. Mr. Keglevic, if you could turn your          8   specifically asked for.
 9   attention to the bottom paragraph on that page,     9      Q. Now, I would like to go back for a
10   which is paragraph 8 of the proposed order.        10   moment to the requested approval of the
11          Are you there?                              11   procedures on October 17 and the submission of
12      A. Uh-huh.                                      12   round 1 bids six days later.
13      Q. Now, this states that, "In accordance        13          Assuming the proposed procedures are
14   with the bidding procedures, each bidder must      14   approved, do the Debtors anticipate sending any
15   acknowledge in writing that it has not engaged     15   additional marketing materials or bid materials
16   in any collusion with respect to any bids."        16   to prospective investors?
17          Do you see that?                            17      A. Assuming there are no changes to the
18      A. Yes.                                         18   procedures, I would not expect us to send any
19      Q. Does this provision preclude                 19   additional information.
20   discussions by a bidder with creditors             20      Q. Now, assuming the procedures are
21   concerning a potential transaction?                21   approved, and after that point, do you
22          MR. McKANE: Objection. Calls for            22   anticipate reaching out to any prospective
23      legal opinion.                                  23   investors that have not already been contacted
24      Q. Mr. Keglevic, in seeking approval of         24   by the Debtors?
25   this order, are the Debtors seeking to preclude    25      A. I would not anticipate that. I think

                                                                                9 (Pages 30 to 33)
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 1              PAUL KEGLEVIC                            1               PAUL KEGLEVIC
 2   we believe we have the right population             2      A. I would think it probably not more
 3   identified and have been in contact with that       3   than five.
 4   population.                                         4      Q. Mr. Keglevic, you are aware that the
 5      Q. And when was that population                  5   bidding procedures preclude creditor involvement
 6   identified?                                         6   or consultation in connection with the stalking
 7      A. I don't recall the exact date, but            7   horse bidding process, correct?
 8   sometime in -- if I was guessing, I think it was    8      A. Yes.
 9   early August.                                       9      Q. Now, the preclusion of creditor
10      Q. As of early August, the world of             10   involvement or consultation in the stalking
11   prospective bidders, in the Debtors' view, had     11   horse bidding process is the result of concerns
12   been identified?                                   12   that creditors would not maintain the
13      A. At least initially identified, yes.          13   confidentiality of prospective bidders, correct?
14   It was supplemented through discussions with       14          MR. McKANE: Can you read that back,
15   creditor groups as we went along.                  15      please?
16      Q. Without revealing the identity of any        16          (Record read.)
17   prospective bidder, after early August, were any   17          MR. McKANE: Objection to form.
18   prospective bidders added to that initial list?    18          Go ahead.
19          MR. McKANE: It's a yes or no                19      A. I think that's one of the reasons.
20      question, Paul.                                 20      Q. And to date, no creditors have been
21      A. I believe the answer is yes.                 21   provided with any information concerning the
22      Q. Do you know how many?                        22   identity of bidders or the contents of their
23      A. I don't recall.                              23   bids; is that correct?
24      Q. Do you know in order of magnitude?           24      A. Not since we launched this marketing
25   More than five?                                    25   process, but previously, because the PIKs were
                                             Page 36                                                 Page 37
 1               PAUL KEGLEVIC                           1               PAUL KEGLEVIC
 2   involved in the bid process and had a right to      2   Berkshire Hathaway has been publicly identified,
 3   receive bids, they were aware of the NextEra        3   without confirming or denying whether they're in
 4   bid, I think as everybody was eventually since      4   the process?
 5   they filed with the Court.                          5      A. Yes, I think I've read that they were
 6      Q. And that was at the time of around            6   in one of the news sources.
 7   June, the end of June, during the second lien       7      Q. CenterPoint?
 8   DIP financing transaction hearing?                  8      A. Yes, I believe they have been
 9          MR. McKANE: Object to the form.              9   identified.
10      A. It was in the June and July timeframe.       10      Q. Iberdola?
11   I think NextEra made a final bid sometime in the   11      A. Iberdrola.
12   July timeframe that was made available to all.     12      Q. Sounds right.
13      Q. Are you aware that seven bidders have        13      A. Yes, I've heard their name as well.
14   been identified -- at least seven bidders have     14      Q. ITC Holdings?
15   been identified in press reports as being          15      A. Yes.
16   engaged in discussions with the Debtors for this   16      Q. NextEra, obviously, yes?
17   transaction?                                       17      A. I don't know. I think -- frankly, I
18      A. I don't know the exact number, but I         18   don't recall the press release. NextEra
19   know there have been press reports. I know         19   withdrew their bid, so I don't know if there was
20   there were some that were accurate and some that   20   speculation that they were coming back or
21   were not and...                                    21   staying out. I think there might have been some
22      Q. Now --                                       22   of each.
23          MR. McKANE: It all depends on what          23      Q. Are you aware that Sempra Energy was
24      you mean by the "press." Do bloggers count?     24   publicly identified?
25      Q. Mr. Keglevic, are you aware that             25      A. I didn't remember that one. I did not

                                                                               10 (Pages 34 to 37)
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                                             Page 38                                                 Page 39
 1               PAUL KEGLEVIC                           1               PAUL KEGLEVIC
 2   remember that one.                                  2   whether or not a prospective bidder can be
 3      Q. Are you aware that the Hunt Family was        3   publicly identified is determined on a
 4   publicly identified?                                4   case-by-case basis?
 5      A. Yes.                                          5          MR. McKANE: Objection to form.
 6          MR. McKANE: I think the question is          6      A. I don't know -- I'm sorry. I don't
 7      publicly identified as what? As a potential      7   follow your question. Determined by whom?
 8      bidder? As participating in the process?         8      Q. In the prior answer, you said that you
 9      As what?                                         9   couldn't make a conclusion as to what their
10      Q. Mr. Keglevic, if you don't understand        10   legal disclosure requirements would be. Do you
11   a question that I ask, feel free to ask for        11   recall that testimony?
12   clarification, and I will do so.                   12      A. Yes.
13      A. Thank you.                                   13      Q. By that testimony, do you mean that
14      Q. Upon learning of the public disclosure       14   individual bidders can decide whether or not to
15   of these bidders' identity, would you ask the      15   make public disclosure of their prospective
16   bidder if they had made the disclosure?            16   interest in the Oncor asset?
17          MR. McKANE: Objection to form. It           17      A. No, that's not really what I mean. I
18      supposes that they are bidders, which goes      18   think individual bidders have a legal
19      exactly to what you cannot get into at this     19   requirement to determine whether the disclosure
20      point in time.                                  20   requirements under the SEC rules, et cetera, are
21      A. And I would also answer that I               21   appropriate. As a general rule, I would think
22   wouldn't make a conclusion as to what their        22   an acquisition this size, if it became public,
23   legal disclosure requirements would be. That's     23   there would -- my knowledge as a CFO would say
24   for them to determine, not me.                     24   that would be a -- my presumption would be they
25      Q. So it's your understanding that              25   would have to make public and have disclosure
                                             Page 40                                                 Page 41
 1              PAUL KEGLEVIC                            1               PAUL KEGLEVIC
 2   requirements as a result of being named as a        2   providing stalking horse bid information on an
 3   bidder.                                             3   "attorneys eyes only" basis with respect to
 4      Q. Upon your learning of these                   4   prospective bidders that have already been
 5   prospective bidders being identified in the         5   publicly identified?
 6   press, did you undertake any investigation to       6          MR. McKANE: Objection to form.
 7   determine how these names had been made public?     7      Presupposes facts about whether these are or
 8      A. I did not.                                    8      are not bidders.
 9      Q. Did you ask any of the Debtors'               9      A. That's a hypothetical that I think
10   advisors how these names became public?            10   would draw -- you know, we are generally
11      A. I think I've expressed general               11   concerned that leaks, especially leaks from
12   frustration throughout this entire process as to   12   credible sources or from the company or
13   how so much information got public and             13   creditors, could lead to public disclosure and
14   constantly asked for assurance from my advisors    14   affect the trading prices of potential bidders,
15   and counsel that we were not providing any         15   and as a result, we think it would reduce the
16   information and that we, you know, we're sure      16   amount of potential bidders and be bad, would be
17   our communication protocols, et cetera, were       17   counterproductive toward achieving our goals and
18   not, you know, leading to leaks.                   18   maximizing the price we receive in the auction.
19      Q. Did you express this frustration             19      Q. Mr. Keglevic, do you understand that
20   during the time in which creditors did not         20   if confidential information is provided on an
21   receive any bid information?                       21   "attorneys eyes only" basis, that a protective
22      A. I don't recall if I specifically did         22   order can be entered enforceable by sanctions of
23   during that period of time.                        23   the Bankruptcy Court for violations of the
24      Q. Mr. Keglevic, sitting here today, can        24   protective order?
25   you identify any harm that could come from         25      A. I would seek my counsel's advice on

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 1               PAUL KEGLEVIC                           1               PAUL KEGLEVIC
 2      A. By virtue of these procedures that are        2          If you could turn to paragraph 5 of
 3   public and have been provided.                      3   the proposed order.
 4      Q. Are these the only criteria that have         4          MR. McKANE: Paragraph 5 of the
 5   been provided to prospective bidders?               5      proposed order?
 6      A. I believe so and, you know, I think           6      Q. Of the proposed order. Sorry. Go
 7   everything is in this package that they have        7   back a few pages. If you keep your finger at
 8   seen.                                               8   the procedures, I'm going to go right back to
 9      Q. So, prior to sending this package out,        9   them.
10   was any similar list of criteria sent to           10          Are you at paragraph 5 of the proposed
11   prospective bidders?                               11   order?
12          MR. McKANE: Objection to form.              12          MR. McKANE: Page 4 of 24.
13      A. I'm not aware of specific criteria           13      A. Yes.
14   that were sent other than these criteria, but      14      Q. Now, paragraph 5 of the proposed order
15   once again, I'm relying substantially, as is the   15   provides that the bidding procedures attached as
16   company and the board, on Mr. Hiltz and his        16   Exhibit 1 are approved. Do you see that?
17   team. He may have some knowledge that I don't,     17      A. Yes.
18   but I believe, from my seat, the answer would be   18      Q. Now, if you turn to page 12 of the
19   no.                                                19   bidding procedures, in these criteria that we
20      Q. Now, we were just discussing that            20   are just discussing, number 9, which is on the
21   these were the bid criteria that will be           21   following page, bid criteria 9 states, "Any
22   considered in connection with this bidding         22   other factors that the Debtors, in their sole
23   process. Now, I would like to turn -- and these    23   discretion, determine are relevant." Do you see
24   are the criteria that were provided to             24   that?
25   prospective bidders.                               25      A. Yes.
                                             Page 48                                                 Page 49
 1               PAUL KEGLEVIC                           1                PAUL KEGLEVIC
 2      Q. If approved, this means that the              2   a majority vote, you know, hundred percent
 3   Debtors could tighten or loosen the bid criteria    3   consensus, or any other process for determining
 4   in their sole discretion, correct?                  4   whether other factors would be considered in
 5          MR. McKANE: Objection to form. Calls         5   evaluating bids?
 6      for a legal conclusion.                          6      A. No, I think I indicated that you
 7      Q. Mr. Keglevic, by seeking approval of          7   should ask that question of Mr. Hiltz, but I
 8   these procedures, are the Debtors seeking           8   have not been -- I have not thought through
 9   authority to tighten or loosen the bid criteria     9   exactly how that debtor process will work. I
10   in their sole discretion?                          10   would assume the Debtors are going to be aligned
11          MR. McKANE: Asked and answered.             11   to maximize the amount of the bid to lock in a
12      A. The number that you see at number 9, I       12   floor for the transaction to mitigate market
13   think, and, you know, any other factors I would    13   risks, as I have indicated, and at the end of
14   think would be to add factors, not to tighten,     14   the day, whether or not we could get, you know,
15   at least that's the paragraph you referred me      15   debtor consensus is up to anybody's judgment,
16   to.                                                16   but we'll be guided by our business judgment and
17      Q. Now, paragraph 9 states that the             17   our fiduciary duties at each entity and in
18   Debtors determine in their sole discretion,        18   combination.
19   right?                                             19      Q. Going back to consultation, Mr.
20      A. Yes.                                         20   Keglevic, are the Debtors providing the TCH
21      Q. Which Debtors does this refer to?            21   first lien lenders with any access to the
22      A. I think I have answered this. That I         22   bidding process such as copies of the bids being
23   would -- it's the consolidated Debtors that we     23   submitted?
24   would take into consideration.                     24      A. No, I believe the prohibitions that
25      Q. And you don't know whether it would be       25   we've been discussing apply to all creditors.

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 1                PAUL KEGLEVIC                          1               PAUL KEGLEVIC
 2      Q. Are the Debtors or, to your knowledge,        2           MR. McKANE: EFIH?
 3   their advisors in any discussions with the TCH      3      Q. I'll rephrase this.
 4   first lien creditors over access to the process?    4      A. And actually, can I expand on my past
 5      A. Not to my knowledge.                          5   answer? The tax-paying entity is EFH. TCEH,
 6      Q. Would you consider giving the TCEH            6   the amounts I'm talking about with respect to
 7   first lien lenders access to the process?           7   payments would have been under the tax sharing
 8      A. It would be inconsistent with what            8   agreement, if any, that they would have made to
 9   approach we're taking and the position we're        9   EFH and reimbursement of EFH payments to the
10   taking here. So, no.                               10   government, but they wouldn't be direct payments
11      Q. Speaking of TCEH, was TCEH a                 11   from TCEH or EFIH to the federal government for
12   tax-paying corporation at some point?              12   taxes.
13           MR. McKANE: Objection. Relevance.          13      Q. Okay. So my question is -- we're
14      A. I don't recall, but it may have been.        14   focusing on TCH -- did that change; at some
15   I know for a fact we have a -- well, we have       15   point in time was TCH previously a tax-paying
16   years under audit and we have had some AMT taxes   16   corporation?
17   that were generated at the TCH level, but it's     17      A. Not post-merger. They have been a
18   information that's, you know, publicly available   18   disregarded entity.
19   and probably in the data room, and I just don't    19           MR. DEVORE: If you would like a
20   recall specifically by year since it was formed.   20      break, we can break now or we can -- I'm at
21      Q. Do you know whether EFIH was ever --         21      a -- switching topics, so if you would like
22   do you know whether EFEH has always been a         22      a break, this would be a good opportunity.
23   tax-paying entity?                                 23           THE WITNESS: Take like a two-minute.
24      A. I'm sorry, which entity are you asking       24           MR. McKANE: Five minutes.
25   me about?                                          25           THE WITNESS: Thank you.
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 2          (Recess; Time Noted: 10:23 a.m.)             2   bidding procedures?
 3          (Time Noted: 10:30 a.m.)                     3      A. It probably be myself and my co-CRO,
 4   BY MR. DEVORE:                                      4   Ms. Doré. We had input and assistance from our
 5      Q. Mr. Keglevic, you are the chief               5   teams, of course, and we had board meetings
 6   restructuring officer, correct?                     6   where we presented the overview of the proposed
 7      A. Correct.                                      7   bid procedures, but I don't believe we had them
 8      Q. Do you have that title at EFH?                8   formally vote on it. But they were certainly
 9      A. Yes.                                          9   aware of the approach, and all of it was in
10      Q. Do you have that title at EFIH?              10   heavy reliance on our advisors, both legal and
11      A. Yes, I believe.                              11   financial, where we directed them to develop
12      Q. And at TCEH?                                 12   procedures, design procedures to achieve the
13      A. I believe that's correct.                    13   objectives that I previously indicated, that is,
14      Q. And Mr. Keglevic, are you a board            14   to maximize the value from the auction and to
15   member at EFH?                                     15   create a one-way option or a floor, you know,
16      A. No.                                          16   through the stalking horse mechanism that would
17      Q. At EFIH?                                     17   help mitigate potential market risk.
18      A. Yes.                                         18      Q. Mr. Keglevic, you started your answer
19      Q. At TCEH?                                     19   stating, "It probably would be myself and my
20      A. Yes.                                         20   co-CRO, Ms. Doré." Did you approve the bidding
21      Q. Mr. Keglevic, what is your role in the       21   procedures?
22   development of the bidding procedures?             22      A. I said I was -- I recommended that we
23      A. I would say I was in a review                23   file them to the board. I don't think we had an
24   capacity.                                          24   official approval process.
25      Q. Who at the Debtors approved the              25      Q. Do you know who the last person was

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 2   that said, "yes, authorize to file," if anyone?     2       A. I think Ms. Doré was acting on behalf
 3          MR. McKANE: Authorize to file the            3    of the Debtors.
 4      motion with the bid procedures in it; is         4       Q. All of them?
 5      that what you're asking?                         5       A. Yes.
 6      Q. Did you understand my question, Mr.           6       Q. Mr. Keglevic, earlier you testified
 7   Keglevic?                                           7    that you were on the board of EFIH. Who are the
 8      A. No, I -- generally, but I would like          8    other directors on the EFIH board?
 9   clarification.                                      9       A. Chuck Kremins, Kneeland Youngblood,
10      Q. Mr. Keglevic, do you know who the last       10    John Young. I know one or two of the sponsors
11   person was at the Debtors that said yes to         11    as well. I'm sorry, I don't -- I don't recall
12   authorize the filing of the bidding procedures     12    exactly who was on which board.
13   motion?                                            13       Q. Are any of the directors on the EFIH
14      A. It would probably be Ms. Doré.               14    board independent directors?
15      Q. In consultation with you?                    15       A. Yes, Chuck Kremins is an independent
16      A. Yes, and other members of our                16    director, and he is independent in the New York
17   management team that we would review it and say    17    Stock Exchange meaning of the word but also
18   we're good.                                        18    independent in that he is not on the EFH board.
19      Q. Along the process, but Ms. Doré was          19    Kneeland Youngblood is an independent director
20   probably the final sign-off?                       20    within the meaning of the New York Stock
21      A. Yes, she is generally, before we file        21    Exchange rules, but also a member of the EFH
22   a motion, the final sign-off.                      22    board. So he is not a disregarded director.
23      Q. Do you know whether Ms. Doré was             23       Q. Mr. Keglevic, do you know if there are
24   acting on behalf of EFH in authorizing the         24    any independent directors of the EFH board?
25   filing of the bidding procedures motion?           25       A. Yes. Billy Williamson is an
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 2   independent director at the EFH board. Kneeland     2    York Stock Exchange rules, but as independent
 3   Youngblood, Arcilia Acosta I think are all          3    because he was not on the EFH board?
 4   independent directors.                              4       A. I don't think having -- I don't think
 5       Q. You also testified that you're a             5    independence is defined that way, but I know, in
 6   member of the TCEH board?                           6    this situation, Mr. Sawyer is not on the EFH
 7       A. That's correct.                              7    board, where Ms. Acosta, who was independent as
 8       Q. Who are the other TCEH board members?        8    well, is on both boards.
 9       A. Hugh Sawyer, John Young, I believe           9       Q. So Mr. Sawyer would be the
10   it's Scott Leibowitz, Jonathan Schmidt, and        10    corresponding person to Mr. Kremins --
11   Arcilia Acosta, but I'm not sure that's            11       A. That's correct.
12   complete. There's public information that will     12       Q. -- on that distinction?
13   support that. I apologize. I just can't recall     13           I'm going back to the EFIH board. Has
14   off the top of my head.                            14    the EFIH board delegated any authority to its
15       Q. Are any of the directors at TCEH            15    independent director, Mr. Kremins, with respect
16   independent directors?                             16    to the sale process?
17       A. Yes, Arcilia Acosta and Hugh Sawyer         17       A. Not that I'm aware of. I think the
18   are both independent directors.                    18    board continues to be involved as a board over
19       Q. Within the meaning of the New York          19    all the processes that may impact EFIH.
20   Stock Exchange rules?                              20       Q. Are you aware whether the EFIH board
21       A. Within the meaning of the New York          21    has delegated any authority to Mr. Youngblood,
22   Stock Exchange rules.                              22    who you had indicated was another independent
23       Q. You made a distinction earlier on the       23    director?
24   EFIH board member with Mr. Kremins stating that,   24       A. I do not believe so.
25   not only was he within the meaning of the New      25       Q. Has the EFIH board delegated or

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 2   conferred any authority to Mr. Kremins or Mr.       2    the EFIH, EFH and TCEH and does his best to
 3   Youngblood with respect to any issues in the        3    exercise his fiduciary obligations associated
 4   bankruptcy case?                                    4    with each individually.
 5      A. I don't recall, but I can't remember          5       Q. Mr. Keglevic, are you aware of any
 6   that if they specifically did that for any          6    conflicts of interest among the EFH, EFIH, and
 7   issue. There may have been some. I just don't       7    TCEH estates with respect to a sale of the Oncor
 8   recall.                                             8    asset?
 9      Q. Do you have any reason to believe that        9           MR. McKANE: Objection. Calls for a
10   there was any such delegation or conference of     10       legal conclusion.
11   authority?                                         11       A. I'm not aware of any, but I would
12      A. As I said, I'm not able to recall any.       12    consult my attorneys before answering because it
13      Q. By the way, what was Tony Horton's           13    does sound like it's a legal matter.
14   role in this process?                              14       Q. Mr. Keglevic, you do understand that
15      A. Tony Horton's role was generally also        15    independent directors are often put in place to
16   review. As I said, it was led by our advisors,     16    address intercompany conflict issues, correct?
17   and Tony was probably slightly more into the       17       A. Yes.
18   details than I was, but I would still say it's a   18       Q. Now, you understand that the Debtors
19   review. He didn't develop the procedures or        19    have asserted that a $3 billion tax claim -- at
20   write the motion.                                  20    least a $3 billion tax claim could be triggered
21      Q. In taking those actions, do you know         21    at EFH for an E side transaction that provided a
22   whether he was representing any particular         22    gain on sale, correct?
23   debtor?                                            23       A. Correct.
24      A. I don't think he was representing any        24       Q. Would you --
25   particular debtor. I think he's an officer of      25       A. That's an estimate. We won't know
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 2   until we have a transaction and determine if        2    was a conflict would be important.
 3   it's taxable or not taxable.                        3       Q. Mr. Keglevic, is it your understanding
 4       Q. Understood. Do you believe that the          4    that there would be a higher purchase price on
 5   triggering of a $3 billion tax at EFH could lead    5    the Oncor sale if a taxable transaction was done
 6   to a conflict of interest between EFIH and EFH?     6    at EFIH?
 7           MR. McKANE: Objection. Calls for a          7           MR. McKANE: Sorry. Can you read that
 8       legal conclusion.                               8       back?
 9       A. Before answering that, I would have to       9           (Record read.)
10   consult with my counsel.                           10       A. That is not my understanding.
11       Q. Mr. Keglevic, what is your                  11       Q. Your understanding is that the
12   understanding of a conflict of interest between    12    purchase price would be the same?
13   intercompany estates?                              13       A. I don't know what the purchase price
14           MR. McKANE: Same objection.                14    would be under different structures. That's why
15       Q. Would you agree that an inter-estate        15    we're going to go through this process.
16   conflict would exist if pursuing one course of     16       Q. Mr. Keglevic, are you aware that there
17   action would benefit one estate to the detriment   17    could be an intercompany claim under the tax
18   of another estate?                                 18    sharing agreement by EFH against EFIH if the $3
19           MR. McKANE: Same objection.                19    billion gain on sale tax was triggered?
20       A. That's a hypothetical, and I would          20           MR. McKANE: Same objection.
21   have to see the specific transaction and consult   21       A. I know that the tax sharing agreement
22   with counsel before I determined whether it was    22    provides rights to EFH.
23   a conflict or not, and I would assume I would      23       Q. Do you know the specifics of those
24   have that discussion in the presence of the        24    rights?
25   boards themselves and their opinions whether it    25       A. I don't recall the specifics.

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 2      Q. So there's draft minutes currently?            2       A. Yes, absolutely.
 3      A. I would guess.                                 3       Q. And the minutes would show who else
 4      Q. Is your phone up yet, Mr. Keglevic?            4    participated, wouldn't they?
 5      A. It is, and unfortunately, it doesn't           5       A. Yes.
 6   tell me whether I was there or not.                  6       Q. And the minutes would show what was
 7      Q. Fair enough.                                   7    discussed?
 8      A. I don't know why. It's my daughter's           8       A. Yes.
 9   birthday. I hope I wasn't there, but I'm pretty      9           MR. SHORE: Just so we're clear, while
10   sure I was, at least telephonically.                10       we're in a lull here, we ask that even the
11          MR. McKANE: Is your purpose to ask if        11       drafts or whatever the latest draft of the
12      he was there whether he participated in the      12       board minutes with respect to anything
13      meeting? Because it probably was                 13       relating to the bidding procedures be
14      telephonic.                                      14       produced.
15          MR. LAWRENCE: I was just seeing if it        15           MR. LAWRENCE: We'll second that.
16      was on his calendar to see whether he            16           But that's for Mark and not for you,
17      participated.                                    17       Mr. Keglevic.
18   BY MR. LAWRENCE:                                    18           (Keglevic Exhibit 14, Presentation
19      Q. Did you participate at the meeting?           19       bearing Bates Nos. EFH90009426 through 9444,
20   You seem to have --                                 20       marked for identification, as of this date.)
21      A. It's not on my calendar, which I'm            21    BY MR. LAWRENCE:
22   surprised, because I can't think of a reason I      22       Q. Mr. Keglevic, showing you what has
23   wouldn't have participated.                         23    been marked as Exhibit 14, do you recognize this
24      Q. The minutes would show whether you            24    as a presentation to the boards of EFCH and
25   participated, wouldn't they?                        25    TCEH --
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 2       A. Yes.                                          2       A. Yeah, we routinely have meetings of
 3       Q. -- on July 30, 2014?                          3    different boards. Sometimes for convenience we,
 4       A. Sorry. Yes, I do.                             4    and depending on the topic, we can have them
 5       Q. And did you receive this presentation         5    together but then, you know, vote as individual
 6   through the same method, through this                6    boards. But yes, it's not unusual at all to
 7   BoardVantage method?                                 7    have separate company meetings.
 8       A. Yes.                                          8       Q. And what was the purpose here on July
 9       Q. And did you attend this meeting?              9    30 of having that separate company meeting?
10       A. Unfortunately, for some reason, my           10       A. I don't recall. My -- I shouldn't
11   calendar is not listing anything. I don't know      11    guess, but I will. Given the date of this,
12   if it wipes out some of the prior things. I         12    typically around the quarterly, you know, every
13   could probably -- the minutes will say if I did.    13    quarter we have face-to-face board meetings and
14   I believe I did.                                    14    we typically at those have separate meetings of
15       Q. You have no recollection sitting here        15    each of the sub-boards. So, just looking at
16   today whether you attended or not?                  16    that date, my guess is that this was a
17       A. We had so many meetings, I don't, but        17    face-to-face meeting, and where we have the
18   given the topic, I can't imagine that I wasn't      18    opportunity to have face-to-face in individual
19   at this meeting.                                    19    meetings, we do that at least quarterly. So my
20       Q. And this is a separate meeting of just       20    guess is that's why we did that on July 30. I
21   the EFCH and TCH boards, correct?                   21    would almost be positive that's the case.
22       A. That's what it appears to be, yes.           22       Q. And are minutes prepared of the TCEH
23       Q. Is that common to have a meeting of          23    and EFCH board meetings?
24   just those two boards without all the other         24       A. Yes.
25   boards together?                                    25       Q. And the same folks at the company

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